        Case 2:19-cr-00213-KJD-NJK Document 80 Filed 01/08/21 Page 1 of 1




 1                             UNITED STATES DISTRICT COURT

 2                                 DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                        Case No. 2:19-cr-00213-KJD-NJK
 4
                  Plaintiff,                          ORDER
 5
           v.
 6
     MICHAEL ALLEN SOUZA,
 7
                  Defendant.
 8
 9
10         IT IS ORDERED that the sentencing hearing currently scheduled for Tuesday,
11   February 9, 2021 at 9:00 a.m., be vacated and continued to _____________________
                                                                 April 20, 2021       at the
12            9:30
     hour of _______   a
                     ___.m.
13
                       8th day of January 2021.
           DATED this ____
14
                                                                         ___
15
                                              UNITED STATES DISTRICT JUDGE
16
17
18
19
20
21
22
23
24
25
26
                                                  3
